     Case 1-24-45433-ess             Doc 1-13       Filed 12/31/24    Entered 12/31/24 15:26:10




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                        Chapter 11

         1550 BEDFORD AVE LLC                                Case No. 24- ()


                                                             Debtor
--------------------------------------------------------X

                          CORPORATE OWNERSHIP STATEMENT

             Pursuant to L.B.R. E.D.N.Y. 1073-3 the undersigned certifies that the following

corporations or entities directly or indirectly own 10% or more of the above debtor’s equity

interests:

                                                 None


        Dated: December 31, 2024

                                                          s/Isaac Nutovic
                                                            Isaac Nutovic
                                            Proposed Counsel to 1550 Bedford Ave LLC




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